                     UNITED STATES DISTRICT COURT

                  WESTERN DISTRICT OF NORTH CAROLINA

PETER J. JARVINEN and
COSTANCE L. JARVINEN,

     Plaintiffs,

v
                                                1:18-cv-00014
GOSHEN TIMBER FRAMES, INC.,
BONNIE PICKARTZ, and DAVID
PICKARTZ,

     Defendants.


                PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT


     Pursuant to Rule 55(b)(2) of the Federal Rules of Civil

Procedure, Plaintiffs Peter J. Jarvinen and Constance L. Jarvinen

move the Court for default judgment against Defendants Goshen

Timber Frames, Inc., Bonnie Pickartz, and David Pickartz.

     Plaintiffs request that the Court grant default judgment

against Defendants for damages in the amount of $87,504.19 for

breach of contract, attorneys’ fees incurred to date in the amount

of $19,848.35, and costs as set out in the proposed final judgment

submitted herewith.

     Plaintiffs’    motion   is   based   on   the   concurrently   filed

declarations of Peter and Constance Jarvinen, the pleadings on

file, and any evidence or argument the Court may consider.



May 23, 2018.
                                    1
                          THE VAN WINKLE LAW FIRM


                          /s/ Allan R. Tarleton
                          Allan R. Tarleton, State Bar No. 9490
                          P.O. Box 7376
                          Asheville, NC 28802
                          828.258.2991
                          atarleton@vwlawfirm.com




                      CERTIFICATE OF SERVICE

     I hereby certify that on May 23, 2018, I electronically filed
the foregoing with the Clerk of the Court and mailed the foregoing
document   by   first-class   mail       to   the   following   non-CM/ECF
participants:

                          Bonnie Pickartz
                       Goshen Timber Frames
                        37 Phillips Street
                        Franklin, NC 28734

                          David Pickartz
                       Goshen Timber Frames
                        37 Phillips Street
                        Franklin, NC 28734

                     Goshen Timber Frames, Inc.
                 Susan Broadhead, Registered Agent
                         37 Phillips Street
                         Franklin, NC 28734




                          /s/ Allan R. Tarleton




                                     2
